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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.:      1:21-cv-03282-SKC

  EGOSCUE, INC., a California corporation,
                 Plaintiff,

  v.

  PAIN FREE POSTURE THERAPY, LLC, a Colorado limited liability company, ANU
  LAWRENCE, an individual, and JOHN DOES.

              Defendants.
  ______________________________________________________________________________

     DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO STAY PENDING
                                  ARBITRATION
  ______________________________________________________________________________

         Pain Free Posture Therapy, LLC and Anu Lawrence (collectively, “Defendants”) reply in

  support of their Motion to Stay this proceeding pending arbitration pursuant to the Franchise

  Agreement’s mandatory arbitration provision.

                                               REPLY

         By incorporating the AAA rules into their arbitration provision, the Parties delegated the

  threshold question of arbitrability to the arbitrator. Dish Network L.L.C. v. Ray, 900 F.3d 1240,

  1242 (10th Cir. 2018). The only question at this juncture is whether the agreement delegating the

  question of arbitrability to an arbitrator is unconscionable. Plaintiff cannot claim the arbitration

  provision is unconscionable because it relied on the arbitration provision when it initiated

  arbitration against Defendants five months ago in Egoscue, Inc. v. Anu Lawrence and Pain Free

  Posture Therapy, LLC, AAA Case No. 01-21-0017-2374.
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         Plaintiff’s opposition brief does not refute the arguments made in Defendants’ Motion to

  Stay. Namely, that the Franchise Agreement requires every claim to be submitted to arbitration;

  that the parties agreed for the Arbitrator to decide the threshold question of arbitrability; and that

  Commercial Arbitration Rule 38 affords Plaintiff the opportunity for interim relief to preserve the

  status quo.

         Instead, Plaintiff argues that federal courts have held a preliminary injunction preserves the

  status quo pending arbitration. However, none of the cases cited by Plaintiff were decided after

  the American Arbitration Association promulgated Commercial Arbitration Rule 38 on October

  1, 2013. Merrill Lynch v. Dutton, 844 F.2d 726 (10th Cir. 1988); Toyo Tire Holdings of Americas

  Inc. v. Continental Tire North America, Inc., 609 F.3d 975 (9th Cir. 2010); PMS Distributing Co.

  v. Huber & Suhner, A.C., 863 F.2d 639 (9th Cir. 1988); Teradyyne, Inc. v. Mostek Corp., 797 F.2d

  43 (1st Cir. 1986); Lever Bros. Co. v. International Chemical Workers Union, 554 F.2d 115 (4th

  Cir. 1976); Bloomingthal v. Merrill Lynch, 910 F.2d 1049 (2nd Cir. 1990); Ortho Pharm Corp. V.

  Amgen Inc., 882 F.2d 806 (3rd Cir. 1989); Merrill Lynch v. Bradley 756 F.2d 1048 (4th Cir. 1985);

  Performance Unlimited Inc. v. Questar Publishers Inc., 52 F.3d 1373 (6th Cir. 1995); and Sauer-

  Getriebe Kg v. White Hydraulics Inc., 715 F.2d 348 (7th Cir. 1983);

         None of these cases address a situation like this one, where Plaintiff has already initiated

  an arbitration under the Commercial Arbitration Rules with interim relief available under Rule 38.

         The Final Arbitration Hearing is set for July 25-29, 2022. The Court should stay this matter

  and require Plaintiff to complete the pending arbitration it initiated against Defendants, pursuant

  to the terms of the Parties’ mandatory arbitration clause in §16.14 of the Parties’ Franchise

  Agreement.


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                                                CONCLUSION

         Defendants request the Court enter an order dismissing the Complaint; staying this case

  pending a decision in the American Arbitration Association proceeding; awarding Defendants their

  reasonable attorney fees and costs pursuant to paragraph 16.9 of the Franchise Agreement or other

  applicable rule or statute, and for any other relief this Court deems proper. Should the Court deny

  this Motion, Defendants will file an Answer within 14 days the Court’s Order pursuant to Fed. R.

  Civ. P. 12(a)(4)(A). Client v. Etsy, Inc., 2016 WL 3002369, *9 (D. Nev. 2016) (A motion to stay

  pending arbitration is considered a 12(b) motion as contemplated by Rule 12(a)(4)) citing 5C

  Charles Alan Wright & Arthur R. Liller, Federal Practice and Procedure § 1360.

         DATED this 31st day of March, 2022.

         ROBINSON WATERS & O’DORISIO, P.C.

         By: _/s/Nicholas F. Labor___________
         (Original Signature on file in Counsel’s Office)
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                         CERTIFICATE OF FILING AND SERVICE

          I hereby certify that on this 31st day of March, 2022, a true and correct copy of the
  foregoing DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO STAY
  PENDING ARBITRATION was electronically filed with the Clerk of the Court and
  electronically served on all parties via PACER, and correctly addressed as indicated below:

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  Counsel for Plaintiff

                                            By: /s/ Carrie Reynolds
                                                    Carrie Reynolds
                                            (Original Signature on file in Counsel’s Office)




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